F_________________`_ii' n

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Fil| in this information to identify your case:

United States Bankruptcy Court for the:
District of

§ Case number (/fknown>. Chapter you are filing under:
mhapten §§
0 Chapter1‘l H[S"]'A;
n Chapter12 ' _ _ _
El Chapter13 cl Check if this ls an

amended filing

 

 

 

- ~ f "1‘5'.$'_<
Offlcla| Form 101 r’]-I/£ SZ 613 OSS_A
Vo|untary Petition for lndividuals Filing for Bankruptcy 12/11

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m ldentify Yourself

1. Your full name

Write the name that is on your y QL \O`
government-issued picture d `n

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

identification (for example, First name F"s' name
your driver’s license or
§ paSSpO|”f). Mid<z}?me Nliddle name
. \
Bring your picture Vm\(\
identification to your meeting La$t name _ Last name
with the trustee b
Suffix (Sr., Jr., ll, ll|) Suffi>< (Sr., Jr., ll, ||l)
f 2. A|| other names you
have used m the last 8 First name First name
years
\nc|ude your married Or Middle name Mldd|€ flame
maiden names
Last name Last name
First name First name
Nliddle name Nliddle name
Last name Last name

 

 

3. Only the last4digits of q § l §:, 5
, your Socia|Security XXX ” XX _ ____ _____ XXX - XX -

number or federal OR OR

individual Taxpayer

identification number 9 XX " XX _____ __.._ _____ ____ 9 XX " XX __ _ _ __
(lT|N)

 

 

 

 

 

 

 

Ofticia| Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 1

 

 

 

 

 

lloth

First Name

Debtor 1

Case 19-13823 Doc 1

Midd|e Name

loonwr\

Last Name

Filed 03/22/19 Page 2 Of 56

Case number Wnown)

 

 

4. Any business names
and Emp|oyer
identification Numbers
(EiN) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

§51 have not used any business names or E|Ns.

About Debtor 2 (Spouse only in a Joint Case):

a l have not used any business names or Ele.

 

Business name

BUSlne$$ name

 

Business name

Er\'i'_

izi_r\i_

 

Business name

 

5. Where you live

§§ monder C)WCKL

Number Street

City State ZlP Code

ram mm

County J

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

 

 

 

if Debtor 2 lives at a different address:

 

Number Street

 

 

City State ZlP Code

 

County

if Debtor 2’s mailing address is different from
yoursl fill it in here. Note that the court will send
any notices to this mailing address

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

Clty State ZlP Code Clty State ZlP Code
6. Why you are choosing Check one: Check one.'

this district to file for
bankruptcy

P?Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

El l have another reason. Explain.
(see 28 u.S.C. § 1403.)

 

 

 

 

n Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

l;l l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Vo|untary Petition for individuals Filing for Bankruptcy

page 2

 

 

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Debtor 1 QD w` m WMU Case number iiii<nown)

First Name iviiddie Name Lasi`Name

m Tell the ¢ourt About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). A|so, go to the top of page 1 and check the appropriate box.

are choosing to file gchapter 7

under
El Chapter11
‘ El Chapter 12
El Chapter 13

 

 

a. How you will pay the fee Cl l will pay the entire fee when l file my petition P|ease check with the clerk’s office in your
local court for more details about how you may pay Typical|y, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

ppi need to pay the fee in installments |fyou choose this option, sign and attach the
App/ication for individuals to Pay The Filing Fee in /nsta/lments (Official Form 103A).

El l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the ofhcial poverty line that applies to your family size and you are unable to
pay the fee in installments). lfyou choose this option, you must ill out the App/ication to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file lt with your petition

 

 

9. Have you filed for DNO
bankruptcy within the
last 8 years? n Yes- Dis"l€t ________ When ______ Case number
ivirvi/ op /YYYY
District When ’ Case number
iviivi/ oD/YYW
Dlstrict When Case number
iviivi/ Do/YYYY
10. Are any bankruptcy _ § NO
cases pending or being
filed by a spouse who is m YeS- Debf°r Relafionship to you

 

not filing this case with
you, or by a business
partner, or by an

District When Case number, if known
MM / DD / YYYY

 

 

affiliate?
Debtor Re|ationship to you
District When Case number, if known
MM / DD / YYYY
11- DO _yOu rent your Cl No. eo to ime 12.
res'dence? g Yes. Has your landlord obtained an eviction judgment against you?

E$No. Go to line 12.

n Yes. Fil| out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Ofncial Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 3

 

 

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Debtor 1 R©¥B` m w\@\(\ Case number (iri<nown)

First Name Midd|e Name Last Name

 

Report About Any Businesses ¥ou Own as a Sole Proprietor

12. Are you a sole proprietor BFNO_ 90 to part 4_
of any fui|- or part-time
business? l;l Yes. Name and location of business

A sole proprietorship is a
business you operate as an , _
individual, and is not a Name °f bus’nes$' n any
separate legal entity such as

a cor oration, annershi ,or
LLC_ p p p Number Street

 

 

if you have more than one
sole proprietorship use a
separate sheet and attach it
to this petition.

 

 

City State ZlP Code

Check the appropriate box to describe your business:

n Health Care Business (as defined in 11 U.S.C. § 101(27A))
n Sing|e Asset Reai Estate (as defined in 11 U.S.Cr § 101(51B))
El Stockbroker (as defined in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. § 101(6))

E\ None of the above

 

 

13_ Are you filing under lf you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines lf you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheei, statement of operations cash-flow statement and federal income tax return or if

are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?
For a dennition of small

business dethr, S€€ El No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U.S.C. § 101(519)- the Bankruptcy Code

m No. l am not filing under Chapter11.

Cl Yes. l arn filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You own or Have Any Hazardous Property or Any Property That Needs immediate Attention

14. Do you own or have any mo
property that poses or is
alleged to pose a threat n YeS, What iS the haZaFd?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any
property that needs

immediate attention,, lf immediate attention is needed, why is it needed?

 

For examp/e, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

N umber Street

 

 

City State ZlP Code

Official Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 4

 

Case 19-13823 Doc 1

Qn\oir\

First Name Middie Name

m Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy You must
truthfully check one of the
following choices if you
cannot do so, you are not
eligible to fi|e.

if you file anyway the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officiai Form 101

thrown

Last Name

About Debtor 1:

You must check one.'

Ndreceived a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and l received a
certificate of compietion.

Attach a copy of the certificate and the payment
pian, if any that you developed with the agency

m l received a briefing from an approved credit

counseling agency within the 180 days before i
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you n|e this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any

Cl l certify that l asked for credit counseling

services from an approved agency but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 250-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you Were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to nle this case

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you nied for bankruptcy

if the court is satisfied with your reasons you must
still receive a briefing Within 30 days after you fiie.
You must file a certificate from the approved
agency along with a copy of the payment plan you
developed, if any if you do not do so, your case
may be dismissed

Any extension of the 310-day deadline is granted

only for cause and is limited to a maximum of 15
days.

m l am not required to receive a briefing about

credit counseling because of:

Cl incapacity l have a mental illness or a mental
denciency that makes me
incapable of realizing or making
rational decisions about finances

13 Disability. l\/ly physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the couri.

Case number iiri<mwn)

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About Debtor 2 (Spouse Oniy in a Joint Case):

You must check one.'

n l received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and l received a
certificate of compietion.

Attach a copy of the certificate and the payment
pian, if any that you developed with the agency

El l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST n|e a copy of the certificate and payment
plan, if any

El | certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 550-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to file this case

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you nled for bankruptcy

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fiie.
You must file a certificate from the approved
agency along with a copy of the payment plan you
developed, if any if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

Cl i am not required to receive a briefing about

credit counseling because of:

n lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

El Disability. My physical disability causes me
to be unable to participate in a
brienng in person, by phone, or
through the internet, even after l
reasonably tried to do so.

|;l Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a ,
motion for waiver of credit counseling with the court.

Vo|untary Petition for individuals Filing for Bankruptcy page 5

 

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floth f)rn)dri

First Name Middie Name Last Name

Case number (irimowni

Answer These Questions for Reporting Purposes

16a Are your debts primarily consumer debts? Consumerdebts are denned in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family or household purpose.”

Cl No. Go to line 16b.

E“Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

l:] No. Go to line 16c.
Cl Yes. Go to line 17.

16. What kind of debts do
you have?

160. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under

Chapter 7? n No. l am not filing under Chapter 7, Go to line 18.

Do you estimate that after Ues l am ming under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

excluded and § NO
administrative expenses
are paid that funds will be 9 Y€S

available for distribution
to unsecured creditors?

 

18. How many creditors do B’i-49 fl 1,000-5,000 Cl 25,001-50,000
you estimate that you Ei 50-99 Ci 5,001-10,000 Ei 50,001-100,000
°We? El 100-199 Cl 10,001-25,000 Ei ivloreihan 100,000

El 200-999

 

19. How much do you
estimate your assets to
be worth?

§¢$0-$50,000

l;l $50,001-$100,000
Ci $100,001-$500,000
Ci $500,001-$1 million

El $1,000,001-$10 million

Ei $10,000,001-$50 million
El $50,000,001-$100 million
El $100,000,001-$500 million

Cl $500,000,001-$1 billion

Cl $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
Ei lvlore than $50 billion

20. How much do you
estimate your liabilities
to be?

El $0-$50,000
$>$50,001-$100,000
El $100,001-$500,000
Cl $500,001-$1 million

El $1,000,001-$10 million

Cl $10,000,001-$50 million
Ei $50,000,001-$100 million
El $100,000,001-$500 million

E| $500,000,001-$1 billion

El $1,000,000,001-$10 billion
C| $10,000,000,001-$50 billion
cl i\/lore than $50 billion

Part 7: Sign Below

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

F°r you correct

lf| have chosen to file under Chapter 7, l am aware that l may proceed, if eligible under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed
under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me nil out
this document i have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specined in this petition.

l understand making a false statement concealing property or obtaining money or property by fraud in connection
' t a bankruptcyea e can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 u.s.c. §§ 15/>2’,,"§471(»15`19

l

  

        

 

 

Signature of Debtor 2

Executed on
lle/ DD /YYYY

Official Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 6

Case 19-13823 DOC ’l Fi|eCl 03/22/19 Page 7 Of 56

Debtor 1 §\()\ n V}\(MW Case number <lrtnown>

tier Name Middie Name ' Last Name

 

 

For you if you are filing this The law allows you, as an individua|, to represent yourself in bankruptcy court but you
bankruptcy WithOut an should understand that many people find it extremely difficult to represent
attorney

themselves successfu||y. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
lf you are represented by

an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page_ technical and a mistake or inaction may affect your rights For example, your case may be
dismissed because you did not file a required document pay a fee on time, attend a meeting or
hearing, or cooperate with the court case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit if that happens, you could lose your right to file another
case, or you may lose protections including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. lf you do not list a debt the debt may not be discharged |f you do not list
property or properly claim it as exempt you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or |ying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfu|, and complete
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

|f you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Ru|es of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that app|y.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

l;lNo

/9 Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

UNo

;lees

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No
n Yes. Name of Person .
Attach Bankruptcy Petitiorl Preparer's Notice, Declaration, and Signature (Official Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may oause»me to.lose my rights or property ifl do not properly handle the case.

lt jt

Signagre of Debtor 1 J Signature of Debtor 2
t r1 »

 
 

 

 

 

Date Date
MM / DD /YYYY
Contact phone Contact phone
cell phone Kt%(`)é\\ %”` q’f\'£\¥& cell phone
Emai| address Email address

 

 

 

Official Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 8

 

 

Case 19-13823 Doc 1

Fill in this information to identify your case:

Debtor 1

 

Fi|eCl 03/22/19 Page 8 Of 56

 

Flrst Name Middie Name

Debtor 2

Last Na me

 

(Spouse, if filing) Firet Name Middle Name

United States Bankruptcy Court for the: Districi of

Case number

 

(lf known)

Offlcial Form 1068um

 

Summary of Your Assets and Liabilities and Certain Statistical lnformation

Be as complete and accurate as possible. |f two married people are fi|in

Last Name

 

 

El Cheoi< if this is an
amended filing

12/15

g together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this form. |f you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

1. Schedule A/B: Property(Offlcia| Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................

1b. Copy line 62, Total personal property, from Schedule A/B ...... ' .........................................................................................

1c. Copy line 63, Tota| of all property on Schedule A/B .........................................................................................................

m Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Propen‘y (Offlcial Form 106D)

2a. Copy the total you listed in Co|umn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

Vour assets
Value of what you own

$_L
$ Li&fl

 

 

$@i&§g

 

 

Your liabilities
Amount you owe

$_Q__
t SUW

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F ....................................... + $ (J 1 5 )Q

Summarize Your lncome and Expenses

4. Schedule /.' Your/ncome (Offlcial Form 106|)

Copy your combined monthly income from line 12 of Schedule / ..........................................................................................

5, Schedule J.' Your Expenses (Offlcia| Form 106J)

Copy your monthly expenses from line 220 of Schedule J ....................................................................................................

Offlcial Form 1068um

Your total liabilities

Summary of Your Assets and Liabilities and Certain Statistica| information

 

 

$ lQ‘S ,OR»

 

 

$<§l.:l`"€l

page 1 of 2

/

‘,,

/

 

 

Case 19-13823 DOC ’l Fi|eCl 03/22/19 Page 9 Of 56

Debtor 1 rR-®Y)\ m (E:)M Case number (irknown)

First Name Middie Name Last Name

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
n No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
mes
7. What kind of debt do you have?

our debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

a Your debts are not primarily consumer debts You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Offlcial 5 g v
Form 122A-1 Line 11; OR, Form 1223 Line11;OR,Form 1220-1 Line14. $ i l

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ @

9b. Taxes and certain other debts you owe the government (Copy line 6b.) $M

9c. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $_Q_
9d. Student loans (Copy line 6f.) s l q<e 9\

9e. Ob|igations arising out of a separation agreement or divorce that you did not report as $ @
priority claims (Copy line 69.)

 

9f. Debts to pension or profit-sharing plans, and other similar debts (Copy line 6b.) + $ ®
iU\ ,Ci §Za
99. Total. Add lines 9a through 9f. s

 

 

 

 

Offlcial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

 

 

Case 19-13823 DOC ’l Fi|eCl 03/22/19 Page ’lO Of 56

Fi|| in this information to identify your case and this filing:

Debtor 1 i n W

Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District Of

Case number

 

 

 

 

amended filing

0fficia| Form 106A/B
Schedule A/B: Property 12/15

ln each category, separately list and describe items. List an asset only once. |f an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally
responsible for supplying correct information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

mscribe Each Residence, Building, Land, or Other Real Estate You Own or Have an lnterest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

o. Go to Part 2.
n Yes. Where is the property?

What is the p"°pe"y? Check a" that app'y‘ Do not deduct secured claims br exemptions Piit

n Sing|e-fami|y home the amount of any secured claims on Schedule D.'

1.1. Creditors Who Have Claims Secured by Property.

El Duplex or mulii-iinit building

 

Street address, if available, or other description

 

 

 

n C°nd°mi"i“m °' CO°PeratiVe Current value of the Current value of the
n Manufactured or mobile home entire Properfy? portion you own?
El Land $ $
i;i investment property
_ C| Timeshare Describe the nature of your ownership
C'ty State Z'P C°de n Other interest (such as fee simp|e, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

m Debtor 1 only

County n Debtor 2 only

m Debtor1 and Debtor 2 amy n Check if this is community property
(see lnstructlons)

 

 

m At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

lf you own or have more than one, list here:

' 7
what ls the property ' Check an that app|y` Do not deduct secured claims or exemptions Put
n Sing|e-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

 

1_2. ‘ , _ . i;i Duplex or multi-unit building Credm)'s Who Have Cla'ms Secu’ed by Pm‘°edy‘
Street address, lf availab|e, or other description _ v _ W… . -
n C°nd°m'n'Um Or C°OPefat"/e Current value of the Current value of the
n Manufactured or mobile home entire property? portion you own?
n Land $ $
cl investment property
. Describe the nature of your ownership
City State ZlP Code m T'meshare interest (such as fee simpie, tenancy by
n Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
El Debtor1 only
County n Debtor 2 only
n Debtof 1 and Deber 2 Oniy n Check if this is community property
n At least one of the debtors and another (Se€ inSfrUCiiOnS)

Other information you wish to add about this item, such as local
property identification number:

 

 

 

Offlcial Form 106A/B Schedule AIB: Property page 1

 

 

Case 19-13823 Doc 1

\

Last Na me

First Name Middie Name "

Case number (irimowni

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1.3.

 

Street address if available, or other description

 

 

City State ZlP Code

 

County

What is the property? Check all that apply.
n Single-family home

Cl Duplex or multi-unit building

n Condominium or cooperative

n Manufactured or mobile home

n Land

m investment property

n Timeshare

n Other

 

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

Do not deduct secured oiaims or exemptions Put
the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property

 

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simpie, tenancy by
the entireties, or a life estate), if known.

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... ')

 

 

 

 

Describe Your Vehicles

>QNo

i;l Yes

3_11 Make:
Model:
Year:

Approximate mileage:

Other information:

 

 

 

 

if you own or have more than one, describe here:

3_2, Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Who has an interest in the property? Check one.
n Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check onei
n Debtor1 only

n Debtor 2 only

i;l Debtor 1 and Debtor 2 only

m At least one of the debtors and another

El Check if this is community property (see
instructions)

Do you own, |ease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. |f you lease a vehicle, also report it on Schedule G.' Executory Contracts and Unexpired Leases.

Do not deduct secured ciaims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property

 

Current value of the Current value of the
entire property? portion you own?

 

Official Form 106A/B

Schedule AlB: Property

page 2

 

 

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?hlli n

®mu)n

 

Case number </n<nown)

 

 

 

First Name Middie Name Last Name
3,3_ Make: Wh° has an '"te"est m the Pr°Pe"tY? Check °"e- Do not deduct secured claims or exemptions Put
n Debtor 1 On| the amount of any secured claims on Schedule D:
Model: y Creditors Who Have Claims Secured by Property
[:l Debtor 2 only .m . y . ,
Year: Current value of the Current value of the

Approximate mileage:

Other information:

 

 

 

 

3_4_ Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es.' Boats, trailers, motors, personal watercraft, tishing vessels, snowmobiles, motorcycle accessories

)@No

n Yes

4_1_ Make:
Model:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

Make:
Model:

4.2.

Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ........................................................................................................................ -)

n Debtor 1 and Debtor2 only
n At least one of the debtors and another

cl Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor 1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

cl At least one of the debtors and another

El Check if this is community property (see
instructions)

Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:

 

entire property? portion you own?

00 not deduct secured claims or exemptions put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property

 

Current value of the Current value of the
entire property? portion you own?

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the v
entire property? portion you own?

 

$

 

 

 

 

Offlcial Form 106A/B

Schedule AlB: Property

 

page 3

 

Yoth

First Name

l=l| Describe Your Personal and Household ltems

Do you own or have any legal or equitable interest in any of the following ltems?

Case 19-13823 Doc 1

(Bititlr\

Middie Name

6. Househo|d goods and furnishings
Examples: Major appliances, furniture, |inens, china, kitchenware

Last Name

 

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Case number (irknawn)

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

 

Cl No
53 Yes. Describe .........

 

india those ito/nj

 

 

7. E|ectronics

UNo

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

 

S?Yes. Describe ..........

 

 

 

8. Co||ectib|es of value

yya?No

\ic\€uisiofi i \ lQ@iDQ

Examples: Antiques and tigurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

 

n Yes. Describe ..........

 

 

 

B°No

9. Equipment for sports and hobbies

Examples: Sports, photographic exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

 

El Yes. Describe ..........

 

 

10. Firearms
Examples: Plstois, rifles,
No

shotguns, ammunition, and related equipment

 

n Yes. Describe ..........

 

 

 

114 C|othes

E|No

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

 

l E’Yes. Describe ..........

 

 

 

12. Jewelry

gold, silver

l§bNo

ihs/ic Qlt§llwi§

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

 

El Yes. Describe ..........

 

 

 

13. Non-farm animals

BNQ

Examples: Dogs, cats, birds, horses

 

Cl Yes. Describe ..........

 

 

 

No

14.Any other personal and household items you did not already |ist, including any health aids you did not list

 

l:l Yes. Give specific

 

information. .............

 

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .................................................................................................................................................... -)

 

 

 

 

Official Form 106A/B

Schedule AlB: Property

page 4

 

 

Case 19-13823 DOC 1 Fi|eCl 03/22/19 Page 14 Of 56

Debtor 1 Q,()\G\ m %(M Case number lirknown)

First Name Middie Name Last Name

l=l| Describe Your Financia| Assets
_.. _ ___-____________

 

' Do you own or have any legal or equitable interest in any of the following?

Current value of the
portion you own?
Do not deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptionsl
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand When you Hle your petition
sw No
n YeS ................................................................................................................................................................ Cash _____________________ $
17. Deposiis of money
Examples: Checking, savings, or other hnancial accounts; certiticates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. if you have multiple accounts with the same institution, list each.
m No
§§ Yes ..................... institution name:
17.1. Checking account: $
17.2. Checking account: $
17.3. Savings account: WCU $ § §( g
17.4. Savings account: $
17.5. Certihcates of deposit: $
17.6. Other financial account: $
17.7. Other inancial account $
17.8. Other hnanciai account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage hrms, money market accounts
No
n Yes ................. institution or issuer name:
19. Non-pub|ic|y traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture
B’NO Name of entity: % of ownership:
cl Yes. Give specific O°/o %
information about
them ......................... 0% %
0% % $
Oflicial Form 106A/B Schedule AlB: Property page 5

 

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Debtor 1 (Rm\ m won Case number lifi<riowrii

 

First Name Middie Name Last Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

B’No

El Yes. Give specific issuer name?
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... $
$
$
21. Retirement or pension accounts
Examples: interests in |RA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or proht-sharing plans
g No
n Yes. List each
account Separately. Type of account: institution name:
401(1<) or similar pian; $
Pension plan: $
iRA: $
Retirement account $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landiords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies or others
/B> No
El Yes .......................... institution name or individual:
E|ectric: $
Gas: $
Heating oil: $
Security deposit on rental unit $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
E?No
n Yes ........................ ' __ issuer name and description:
$
$
Official Form 106A/B Schedule AlB: Property page 6

 

 

 

Case 19-13823 DOC 1 Fi|eCl 03/22/19 Page 16 Of 56

Debtor1 wm m mw Case number (irl<riown)

Firsl Name Middie Name Last Name

 

 

24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

g No
n Yes ....................................

institution name and description Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

ENQ

El Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements

BNQ

n Yes. Give specific
information about themmd $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive iicenses, cooperative association holdings, liquor licenses, professional licenses

E|No

El Yes. Give specific
information about them.... $

 

 

 

 

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

mo
El Yes. Give specific information
about them, including whether

you already filed the returns State:
and the tax years. .......................

 

Federal:

Local:

 

 

 

29. Fami|y support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement property settlement

WNQ

El Yes. Give specific information ..............

 

Alimony:
Maintenance:
Support:

Divorce settlement

€B%$€H€£

Property settlement

 

 

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Sociai Security benehts; unpaid loans you made to someone else
§ No

m Yes. Give specific information ...............

 

 

 

 

 

Official Form 106A/B Schedule AIB: Property ~ page 7

 

 

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Debtor 1 wm \ n %M\(\ Case number (ifknown)

First Name Middie Name Last Name

 

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

§G\m

m Yes. Name the insurance company

, _ _ Company name: Beneflciary: Surrender or refund value:
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the benenciary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

lam

El Yes. Give specific information ..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

B?No

cl Yes. Describe each claim. ....................

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

ENQ
m Yes. Describe each claim. ....................

 

 

 

 

35.Any financial assets you did not already list

WNO

El Yes. Give specific information ............

 

 

 

 

 

36, Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... 9 $ Q: g

 

 

m Describe Any Business-Related Property You 0wn or Have an lnterest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?

mo Go to Part 6.

Cl Yes. co to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

38. Accounts receivable or commissions you already earned

n No
m Yes. Describe .......

 

mw

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, softwarel modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

|;l No
m Yes. Describe ....... $

 

 

 

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 8

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\
Debtor 1 %w` n /¥)(M\ Case number (irknawn)

First Name Middie Name last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

El No
Cl Yes. Describe ....... ;$

 

 

 

41. inventory
n No
El Yes. Describe ....... §§

 

 

 

42. interests in partnerships orjoint ventures

UNo

m Y€S. Describe ....... Name Of entity: % of ownership:

% $
%
% $

 

99

 

 

43. Customer |ists, mailing lists, or other compilations
El No
cl Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
L:l No
n Yes. Describe ........

 

 

 

 

 

44.Any business-related property you did not already list
[;l No

n Yes. Give specific
information .........

 

 

 

 

 

$€BM$$GH

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here .................................................................................................................................................... -)

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest ln.
if you own or have an interest in farmiand, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
0. Go to Part 7.
El Yes. co to line 47.

Current value of the

 

portion you own?
Do not deduct secured claims
or exemptions
47. Farm animals

Examples: Livestock, poultry, farm-raised fish

n No

n Yes .........................

$

 

 

 

 

 

 

 

thcia| Form 106A/B Schedule AIB: Property page 9

 

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Debtor1 %\(3\ n (©( wm Case number (/fknown>

Fi’rst Name Middie Name L Name

48. Crops-either growing or harvested

UNo

El Yes. Give specific
information. ............ $

 

 

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
Cl No
n Yes ..........................

 

 

50. Farm and fishing supplies, chemica|s, and feed

n No
El Yes ..........................

 

 

 

 

51.Any farm- and commercial fishing-related property you did not already list
El No '

n Yes. Give specific
information. ............ $

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................................... 9

 

 

 

Describe Al| Property You own or Have an lnterest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already |ist?
Examples: Season tickets, country club membership

UNo

m Yes. Give specific
information. ............

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $

 

 

 

List the Totals of Each Part of this Form

 

55. Part 1: Total real estate, line 2 .................................................................................................................... ' .......................................... 9 1 $_@__

56. Part 2: Total vehicles, line 5 $

57. Part 3: Total personal and household items, line 15 $ l OU
58. Part 4: Total financial assets, line 36 $ § L g

59. Part 5: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 $

61. Part 7: Total other property not listed, line 54 + $

 

 

 

' c
62. Total personal property. Add lines 56 through 61. .................... $ 0L Q\ Copy personal property total 9 + $ QV Q\

 

 

 

 

63. Total of all property on Schedule AlB. Add line 55 + line 62 .......................................................................................... $ q § } :g

 

 

 

 

 

Official Form 106A/B Schedule AIB: Property page 10

 

 

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Fill in this information to identify your case:
Debtor 1 . in
First Name Middie Name Last Name'

Debtor 2
(Spou$e, if flling) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of

case number Cl Check if this is an
<"""°‘”“) amended Hllng

 

 

 

Official Form 1060
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B.' Property (Ofiicial Form 106A/B) as your source, list the property that you claim as exempt |f more
space is needed, fill out and attach to this page as many copies of Pan‘ 2.' Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. A|ternative|y, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Froperty You Claim as Exempt

 

1. Which set of exemptions are you ciaiming? Check one only, even if your spouse is til/ng with you.

wrou are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
cl You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.
Schedule A/B

description:

~ Clioo‘x ofrairmarkeivaiue, up to 03 639( W)
.|';`|;‘l?ef¢;(r)/?; A/B,~ any ;pplicable statutory limit \\ C/ c WT
@ @iw\i® $ \‘§)b m

description: ,. ,
. El 100% of fair market value, up to V_
Line from .
Schedule A/B_. y any applicable statutory limit
Brief k ' \ 03
description: $ cl $ .
Line from \ l;l 100% of fair market value, up to \\U§§ c:`] C§
\ any applicable statutory limit `

Schedule A/B.'

 

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
n No
El Yes. Did you acquire the property covered by the exemption within 1,215 days before you med this case?

E.l No
Cl Yes

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of _9\

 

 

Case 19-13823 DOC 1 Fi|eCl 03/22/19 Page 21 Of 56

Debtor 1 M\\(\ ?)YDM Case number rrri<nown)

First Name Middie Name Last Name

 

Additional Page
Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
f t
mw sgt m M®
' ig _________

l;l 100% of fair market value, up to

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Line from . . .
Schedule A/B, any applicable statutory limit
Brief
description: _--_-_ $ n $
Line from n 100% cf fair market value, up to
Schedule A/B: -_ any applicable statutory limit
Brief
description: $ cl $
Line from L_.l 100% of fair market value, up to
Schedule A/B.' _ any applicable statutory limit
Brief
description: _--_--_ $ n $
Line from n 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief
description: ____--_ $ n $
Line from n 100% of fair market value, up to
Schedule A/B; _ any applicable statutory limit
Brief
description: ___-___ $ n $
Line from El 100% of fair market value, up to
Schedu/e A/B; __ any applicable statutory limit
Brief
description: --_-__-_ $ m $
Line from Cl 100% of fair market value, up to
Schedule A/B; any applicable statutory limit

1 Brief
description: -_-_-_- $ n $
Line from l;l 100% of fair market value, up to
Schedule A/B_~ ____ any applicable statutory limit
Brief
description: $ n $
Line from cl 100% of fair market value, up to
schedule A/B; __ any applicable statutory limit
Brief
description: ____-__ $ n $
Line from Cl 100% offair market vaiue, up to
Schedu/e A/B_- any applicable statutory limit
Brief
description: _-_---__ $ m $
Line fm m m 100% of fair market value, up to
Schedule A/B; _ any applicable statutory limit
Brief
description: _______- $ n $
Line from m 100% of fair market value, up to
Schedule A/B; _ any applicable statutory limit

Official Form 1060 Schedule C: The Property You Claim as Exempt page _H_`on`

 

 

Case 19-13823 DOC 1 Fi|eCl 03/22/19 Page 22 Of 56

Fill in this information to identify your case:

Debtor1 ` 1 ` ‘mm(\

First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) Firsr Name Middie Name Last Name

 

United States Bankruptcy Court for the: District Of

Case number
(!f known)

 

 

 

Official Form 106D

 

El check lrrnis le an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property 12115

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

o. Check this box and submit this form to the court with your other schedulesl You have nothing else to report on this form.

n Yes. Fill in all of the information below.

List Aii secured claims

y 2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately
' for each claim. |f more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditors name.

 

Co/umn A Co/umn B Co/umn C

Amount of claim Value of collateral Unsecured
D¢ nor deducr the that supports this portion

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

value of collateral Claim lf any
- Describe the property that secures the claim: $ $ $
y Creditors Name §
i
Number Street ` v j ,
As of the date you file, the claim is: Check all that apply
m Contingent '
El Unliquidated
City State ZlP Code a Disputed
Wh° OWeS the debt? Check One- Nature of lien. Check all that apply.
n Debtor1 °n|y m An agreement you made (such as mortgage or secured
a Debtor 2 only car loan)
n Debtor 1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic’s lien)
a At least one of the debtors and another n Judgmeni lien from a lawsuit
n Other (inc|uding a right to offset)
a Check if this claim relates to a
community debt
: Date debt was incurred l_a… digitsof account number __ __ __ __ y rt
L££| Describe the property that secures the claim: $ $ $
Creditors Name ' l
Number Street §
As of the date you file, the claim is: Check all that apply.
n Contingent
El Unliquidated
City State ZlP Code n Disputed
Wh° OWeS the debf? Check One- Nature of lien. Check all that apply,
n Deb!°\' 1 O“|Y a An agreement you made (such as mortgage or secured
a Debtor 2 only car loan)
n Debtor1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic‘s lien)
n At least one of the debtors and another n Judgmem lien from a lawsuit
D Other (inc|uding a right to offset) §
a Check if this claim relates to a
community debt
Date debfwa§,i"w"ed Lan 4 digits °f account numbe'_ _ _,_ ,~_c , ,` ,, s _. c t … _r ,
Add the dollar value of your entries in Co|umn A on this page. Write that number here: E____ l §

Ochia| Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 afl

 

 

Case 19-13823 DOC 1 Fi|eCl 03/22/19 Page 23 Of 56

Fill in this information to identify your case:

Debtor 1

 

First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name LastName

 

United States Bankruptcy Court for the: District Of

- El cheek innis is an
%?::oirilnimber amended filing

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPRlOR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List All of Your PR|OR|TY Unsecured Claims

 

 

 

1. Do any creditors have priority unsecured claims against you?
E| Nor Go to Part 2.
PYes.
2. List ali of your priority unsecured claims. |f a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and

nonpriority amounts As much as possible list the claims in alphabetical order according to the creditors name if you have more than two priority
unsecured claims, tilt out the Continuation Page of Part 1, if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

221 k® T{M\mm awol 'h‘$ Last4 digits of account number _C[l 161 $ ®\`{ §
©:Jm€>€r.ed%§? \ H (.DO'D When was the debt incurred?

Number Street

r‘[/:zl/H\mo(€\ m glg_qq~ As of the date you file, the claim is: Check all that apply
ly

State zip Code a Contingent
E| unliquidated
n Disputed

 

 

 

 

 

Who incurred the debt? Check one.
m Debtor1 only

n D€bfor 2 Oniy Type of PR|OR|TY unsecured claim:
a Debtor1 and Debtor2 only

\:l Domestic support obligations
n At least one of the debtors and another

g Taxes and certain other debts you owe the government

n Check if this claim is for a community debt n Claims for death or personal injury while you were

 

ls the claim subject to offset? intoxicated
m No m Otherr Specify
n Yes

 

 

2'2 Last 4 digits of account number __

 

_____ $ $ $

Priority Creditors Name
When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply
n Contingent

city stale zip code El unliquidated

Who incurred the debt? Check one. n Disputed

n Debtor1 only Type of PR|OR|TY unsecured claim:
a Debtor2 only

E] o ste on bi' t
Cl Debtor1and Debtor20nly ome l supp o |galons

m At least one of the debtors and another Taxes and certain other debts you owe the government

Cl Check if this claim is for a community debt intoxicated

El
n Claims for death or personal injury while you were
n Other. Specify

ls the claim subject to offset?

m No
L;i Yes

 

 

 

 

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page 1 of ` ( )

 

 

 

e19-13823 DOCi
Debtor1 (_R(\D(\ (`@(M

'First Name Middie Name Last Name

mist All of Your NCNPR|QR|TY Unsecured Claims

 

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Case number rirknawn)

3. Do any creditors have nonpriority unsecured claims against you?
n No. You have nothing to report in this part. Submit this form to the court with your other schedules

Yes

4. List all of your nonpriority unsecured claims' rn the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim For each claim listed identify what type of claim it' ls. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3 lt you have more than three nonpriority unsecured

claims till out the Continuation Page of Part 2.

liman lludiml suslow

iv)d:§ity<?m< cred:: tName\ \66? z
lluul llu,ld \/A i§lflll§@

State ZlP Code

 

Who incurred the debt? Check one,

n Debtor1 only

n Debtor 2 only

cl Debtor 1 and Debtor 2 only

Cl At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?
n No
m Yes

y l 6 q y Total c{laim
Last 4 digits of account number_ __ _ $ l 36

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

n Contingent
El unliquidated
n Disputed

Type of NONPRlOR|TY unsecured claim:

cl Student loans

a Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
cl Other. Specify

 

 

 

2 | lli'\lln S{lor@ loot/mun

 

 

d§lhur\o\l U Siso, \l o

…Ci l\l\< \…w

City State

 

ZlP Code

Who incurred the debt? Check one.

l:l Debtor 1 only

n Debtor 2 only

a Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?
l;] No
n Yes

 

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
n Unliquidated
C| Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
n Other. Specify

 

 

 

 

 

 

_l\t`ll\l’t§ llsolm§ lltudrm "

MTT>' lodo, ©ll Ll?>la©’l

City0 State ZlP Code

Who incurred the debt? Check one.

l;l Debtor 1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?
Cl No
n Yes

Offlcial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Last4digits of account number _Q_Q_\{`_HL $ ' y o i, y

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

n Contingent
El unliquidated
E| Disputed

Type of NONPRlOR|TY unsecured claim:

m Student loans

a Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

l:l Debts to pension or profit-sharing plans, and other similar debts
n Other. Specify

 

' ',;`;;,;Ql;,;l®

 

 

CaWB-l 8 3, Docl

Debtor 1

Filed 03/22/19 Page 25 Of 56

Case number (iri<nnwn)

 

First e Middle Name Last Name

 

 

 

Ar_

 

 
  

priority Cre r's Name

>< t@t36
§ii\inm on Li36oo

State ZlP Code
m Debtor 1 only
m Debtor2 only
m Debtor 1 and Debtor 2 only
n At least one of the debtors and another

StreetQ-/

m Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

 

Your NONPRlOR|TY Unsecured Claims -r Con_tinuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

(¥Sm O\&MUS`\(/ M Last4 digits of account number _5_ _ Q l

When was the debt incurred?

` As of the date you file, the claim is: Check all that apply.

n Contingent
n Un|lquidated
m Disputed

Type of NONPRlOR|TY unsecured claim:

a Student loans

l l;l Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims
' n Debts to pension or profit-sharing plans and other similar debts
n Other. Specify

 

f

Total claim

33_3

 

  

C§r€-t`£l>l§ twth
§§33 ws\lt\i" whmore M

City (‘State ~ ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

a Debtor 2 only _

El Debtor1 and Debtor 2 only

n At least one of the debtors and another

i;l Check if this claim is for a community debt

ls the claim subject to offset?

n No
m Yes

Last 4 digits of account number Q`_ (_~Q __)

When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.
m Contingentl

El unliquidated

m Disputed l

y Type of NONPRlOR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims l

n Debts to pension or profit~sharing plans, and other similar debts

n Other. Specify

 

 

‘M tow Cu\tlzc_’\w\~<»®o\§ou\

 

<Y"S°§\té\i

Who incurred the debt? Check one

m Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least orie of the debtors and another

home

State

BtYle)

ZlP Code

L_.] Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes '

 

l§§f§°“"\’?fodhmd@ hub 33ch

K§‘_i%

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
Cl Disputed

Type of NONPRlOR|TY unsecured clair'~

m Student loans

El Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Deth to pension or profit-sharing plans and other similar debts

a Other. Specify

-`.`_

 

 

Official Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

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page§_ of | O

 

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CaseiQ-i?> 3 Doci
Debtor1 ?Dh h\(\ /§D\m

First Name Middie Name Last Name

 

Case number (irl<nown)

Your NCNPRlORlTY Unsecured Claims ~ Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

M)<cmtr m \)A él&§lil

State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

a Debtor2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl check if this claim is for a community debt

ls the claim subject to offset?

El No
m Yes

 

Total claim

Last 4 digits of account number Q _Q 3 1 $ t 56

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
E| Unliquidared
n Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
a Other. Specify

 

 

WW MMC comm
55111552 §§ <@M
§§ ”® M§

State ZlP Code
Who incurred the debt? Check one.
n Debtor1 only
n Debtor 2 only
m Debtor 1 and Debtor 2 only
n At least one of the debtors and another

 

cl Check if this claim is for a community debt

ls the claim subject to offset?

a No
a Yes

Last 4 digits of account number § SS®_

 

… h 1 ~ ~t~~ ,~/ » t~ ,',~,@~.»_A~ .,l,~a»,.¢t»m l»t@\',¢t;»,t~,~… _ 1 v ex 'w».¢¢m

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a Contingent
El unliquidated
n Disputed

Type of NONPRlOR|TY unsecured claim:

cl Student loans

[;l Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts
n Other. Specify

 

 

 

‘V b §§>< SClO\Y
Wr(\Q/Nt /‘r'Z, <§50?)§7

State ZlP Code
Who incurred the debt? Check one.

a Debtor 1 only

n Debtor2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

cl No
l:l Yes

Official Form 106E/F

Last4 digits of account number@_ B_‘Q )_

Schedule ElF: Creditors Who Have Unsecured Claims

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
n Unliquldated
El Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
n Other. Specify

page{_'_`: of _'L)

 

 

 

Debtor 1 QOW\

 

ll

 

First Name v\Middle Name Last Name

 

\jprionfy CUSN\ame 6 \ q/`

Wherfj\` ` Street UV\\ jM A
Who incurred the debt? Check one.

State
n Debtor1 only
n Debtor 2 only _
n Debtor 1 and Debtor 2 only' l
D At least one of the debtors and another

" Fo\§<ai

ZlP Code

m Check if this claim is for a community debt

is the claim subject to offset?

n No
n Yes

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Case number (rrknawn)

Your NONPR|0R|TY Unsecured Claims ~_ Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so _forth. ' n (' [Q

l§§§)gr@iyd Ciecuel writers

Last 4 digits of account number
When was the debt incurred?

` As of the date you file, the claim is: Check all that apply.

m Contingent
El unliquidated
m Disputed

Type of NONPRlOR|TY unsecured claim:

D' Student loans

,D Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

' n Debts to pension or profit-sharing plans, and other similar debts
.El Other Specify

jun

Totai‘cialm' 5

 

.\\

O(D@%§\U€ UStl'/t;<
detain names m UW@

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor2 only t

L_.l Debtor1 and Debtor 2 only

C] At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
g Yes

Last 4 digits of account number §§ § 3

_When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

l:l Contingent
a Un|iquidated
n Disputed

y Type of NONPRlOR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
m Other. Specify

$§d&;l

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Official Form 106E/F

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WWMM
godwi- Cioud (Y\i\l 5\0§)5

City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

n Debtor2 only

m Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

Last 4 digits of account number §§ _(_>&`\j_

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

m Contingent
n Unliquidated
l;l Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

0 Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans and other similar debts
El other specify

 

 

Schedule ElF: Creditors Who Have Unsecured Claims

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page§ Of '__O

 

 

 

 

Case 19€- 3823 DoC 1 Fi|ecl 03/22/19 Page 28 of 56
Debtor 1 Q(Ubl m \ wm Case number rirknown)

First Name Middie Name Last Name

¥our NONPR|0R|TY Unsecured Claims - Continuation Page

After listing any entries on this paga, number them beginning with 4.4, followed by 4.5, and so forth.

),H:S tjqu MM imp (\)/MUHM Last4 digits of account number 1 _Lq,&

No ' rit jr d` ors am ‘

\q);i § m /bl) (D ' §K g/O) When was the debt incurred?

mber Street . . .
M!'V‘lQ/`>{DW)\ W `JD&/]LF As of the date you file, the claim is: Check all that app|y_

City State ZlP Code El Contingent
El unliquidated
m Disputed

 

 

 

 

Who incurred the debt? Check one.

n Debtor1 only '
C! Debtor 2 only Type of NONPRlOR|TY unsecured claim:
m Debtor1 and Debtor2 only

n Student loans
n At least one of the debtors and another

m Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

[;l Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? fl Other_ Specify

m No
m Yes

mo 43 or re
-H U’\{\ \\ mg mw K)(\'m Last4 digits of account number , _Q Q _ $_\)_
°npinrity Creditor’s Name
R\NW \UQ!\ /B\\j d When was the debt incurred?
W\ pA' 101 kpl O A$ °f the date you file, the claim is: Check all that appry_

City d State ZlP Code n Contingent
n Un|iquidated
n Disputed

o Check if this claim is for a community debt

 

 

Who incurred the debt? Check oner

m Debtor1 only
Cl Debtor 2 only Type of NONPRlOR|TY unsecured claim:
El Debtor1 end Debtor2 only

n Student loans
U At least one of the debtors and another

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? [] Other_ Specify

E| No
a Yes

w \‘\g\§\\ \d 5 m alj O/Q)( `D Last 4 digits of account numberL\_/O_ _5_ $U

Ncnpriorit Credito Name
`OY F‘M\ du M When was the debt incurred?
ber Street _ _ _
PT\ (\w\]\ ( w 66 `Q'@| M):), As of the date you file, the claim is: Check all that app|y.

city state zlP code E] contingent
C| unliquidated
n Disputed

n Check if this claim is for a community debt

 

 

Who incurred the debt? Check one.

a Debtor1 only
U Debtor2 only Type of NONPRlOR|TY unsecured claim:
Ci Debtor1 and Debtor 2 only

n Student loans
L_.l At least one of the debtors and another

m Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

ls the claim subject to offset? C] Other_ Specify

n No

m Yes

Cl Check if this claim is for a community debt

 

 

 

 

 

Offlcial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page _(Qof ,

 

CaseiQ-i‘ 3 Doci
Debtor1 M\m mm

First Name Middie Name Last Name

 

 

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Case number (irkndwn)

Your NONPRlOR|TY Unsecured Claims - Continuation Page

 

After |isting any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

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g

 

(‘rimrrlr)riil chlltlh brunoth

nbi odom corn nn

City State ZlP Code

 

Who incurred the debt? Check one.

Cl Debtor 1 only

n Debtor2 only

n Debtor1 and Debtor 2 only

0 At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

rtle

Last 4 digits of account number g 5 0 0

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
n Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

l;l Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
El Other. Specify

 

 

ij ao§

iiiin Ci%l rlu°d
‘”Pj§$bn. ind O&Yit§

ity State ZlP Code

 

Who incurred the debt? Check one.

a Debtor1 only

l;l Debtor2 only

Cl Debtor 1 and Debtor 2 only

cl At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

f
Last 4 digits of account number _QK/(i\j_

When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

l;l Contingent
n Un|iquidated
n Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts

m Other. Specify

 

@'l$t

 

 

 

a No
n Yes
`\ dual f \’l-Z)
"“H' m A\m Last4 digits of account numbe _ i_ _\;_j_ 5
Onpl’|Ol’lfthredj'¢ sNam
(00 G/ UMLQ/ mg When was the debt incurred?

 

 

 

winer idle 1l2%

State Z|P Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

ij Debtor 1 and Debtor 2 only

a At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
m Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

n Other. Specify

 

Offlcial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

pagej_ of l_(>

 

Debtor1 W) m
F tNa e Middie Name

Last Name

Case19- 23 D 1
Wi>ioi°"i

Fi|eCl 03/22/19 Page 30 Of 56

Case number tirrnown)

Your NONPRlQRlTY Unsecured Claims - continuation Page

 

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tim Court-ti
§rril>itin a Uiirli) allrl

State Z|'P Code
Who incurred the debt? Check one.
Cl Debtor1 only
[;l Debtor 2 only
n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

 

Cl Check if this claim is for a community debt

ls the claim subject to offset?

n No
l:l Yes

if After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of account number l _|_ d )

When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

n Contingent
[J unliquidated
n Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

n Other. Specify

 

   

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rewrite `l>< WSWGZ

  
 
 

am\a'

 

Last 4 digits of_ account number \ glf 13

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

 

9_>

$B>l§i

 

 

 

 

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

 

City State ZlP Code [:l Contingent
lJ unliquidated
Who incurred the debt? Check one. n Disputed
n Debtor1 only
El Debtor 2 only Type of NONPR|CR|TY unsecured claim:
g Debtor1 and Debtor 2 only 99 Student loans
At least one °f the debtors and another a Ob|igations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as pm_mty c|élms _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? E] Other_ Specify
n No
?Yes
J _. s
Last 4 digits of account number _ _ _ _
Nonpriority Creditor's Name
When was the debt incurred?
Number Street _ _ _
As of the date you file, the claim is: Check all that app|y.
city stare zlP Code Cl contingent

El unliquidated
l;l Disputed

Type of NONPRlOR|TY unsecured claim:

a Student loans

a Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
a Other. Specify

 

 

Of&cial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

page:X_ of 0

 

4 ` Case -13823 Doc1 Filed 03/22/19 Page?>10156
Debtor1 KR@G\~‘I\/) ' q Case number (ifknown)

First Name Middie Name Last Name

 

-List others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
examp|e, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. |f you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

UW § j(m@, On which entry in Part 1 or Part 2 did you list the original creditor?
Name q \D
Y, 0 ,®< \v(L/) U, 3 Line ` * of (Check one): L_.l Part 1: Creditors with Priority Unsecured Claims

Number Street wart 2: Creditors with Nonpriority Unsecured Claims

PVWUJ | "B< /\G)\ go Last4 digits of account number_ _ _ ___

State ZlP Code

 

\} Q/r 17 m On which entry in Part 1 or Part 2 did you list the original creditor?

Nam

6® TQCc/\()D\U\A (D \N@ LineC:|E;)t (Check one): Cl Part1:Creditors with Priority Unsecured Claims
‘U

 

 

 

 

Number Street §cPart 2: Creditors with Nonpriority Unsecured
l l Claims

Wedm d`)( m l …0 (FH:)W Last 4 digits of account number_ _ _ _

City \ \__) 'State ZlP Code

 

l /` t ~ .,, t … t , ' ~ ' o
M LO@`,Y\ \SQ){ \j\ ( Q l on which entry in Part 1 or Part 2 did you list the original creditor?
N e v z\
v t 0 . U (o@ mt 0 Lineg .d'Qf (Check one): Cl Part 1: Creditors with Priority Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street 91 Part 2: Creditors with Nonpriority Unsecured
Claims
`\/\O»( ‘\% ©U\(U\ i P.A' \/\\ O)O Last 4 digits of account number ___ __ __
City \J ' State ZlP Code y
0n which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Street Cl Part 21 Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number_ __ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number S“ee’ E] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number__ _ _ _
9i¥y.,. , , __ , State Z'P C°F’€, … u,,, ,, ,, , , ,u
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Numbe' S"ee‘ C] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number__ _ _ _
, C“Y ,, . . , ,$*a'e ZlP CF’<??-,,, , o
Nam On which entry in Part 1 or Part 2 did you list the original creditor?
6
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Street . . . .
El Part 2: Creditors with Nonpriority Unsecured
Claims
City State ZlP Code Last 4 digits of account number _ _ _
thcial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims pageq_ of _(_0

 

 

Case 19@823 _ Doc 1 Filed 03/22/19 Page 32 of 56
Debtor1 PO\O\W " Mm Case number (/fl<nown)

First Name Middie Name Last Name

mAdd the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claim

6a. Domestic support obligations 6a.

6b. Taxes and certain other debts you owe the ,
government 6h. $

6c. Claims for death or personal injury while you were

Total claims
from Part 1

 

 

 

 

 

intoxicated 60. $
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. +
$
ee. Total. Add lines ca through 6d. se. § jul
$
Total claim

Total claims 6f. Student loans 6f. $ \§ \ q z g

 

 

 

 

 

from Part 2 Gg. Ob|igations arising out of a separation agreement
or divorce that you did not report as priority
claims Sg. $
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
6i. Other. Add all other nonpriority unsecured claims. L}/® O©/:)r
Write that amount here. 6i. + $ l
6j. Total. Add lines 6f through 6i. 6j. . Q/] 5 \§'
$ l
Ofncial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page mf`O

 

Case 19-13823 DOC ’l Filed 03/22/19 Page 33 Of 56

Fill in this information to identify your case:

0 ' amum

First Name Middie Name ' Last Name

Debtor 2
(Spouse lf filing) Firsl Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of

Case number . . .
(lil<nown) n Check if this ls an

amended filing

 

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page. fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
o. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or |ease. Then state what each contract or lease is for (for
examp|e, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

Person or company with whom you have the contract or lease State what the contractor lease is for

2.1

 

Name

 

N umber Street

 

City State ZlP Code

2.2

 

Name

 

Number Street

 

k City State ZlP Code
2.3

 

Name

 

Number Street

 

City State ZlP Code
2.4

 

Name

 

Number Street

 

City State ZlP Code
2.5

Name

 

 

Number Street

 

City State ZlP Code

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of__"_

 

 

Case 19-13823 DOC ’l Filed 03/22/19

Fill in this information to identify your case:

' ~lOiri

First Name

ofDUJ'(\

Last Name

Debtor 1
Middie Name

Debtor 2
(Spousel if filing) Flrst Name

 

Middie Name Last Name

District of

United States Bankruptcy Court for the:

Case number
(lf known)

 

 

 

Official Form 106H
Schedule H: Your Codebtors

 

Page 34 of 56

l] cheek if this is an
amended filing

12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and

case number (if known). Answer every question.

1. Do you have any codebtors? (lf you are tiling a joint case, do not list either spouse as a codebtor.)

BNO

m Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and ten'iton'es include
Arizona, Ca|ifornia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and V\hsconsin.)

B>No. co to line 3.

n Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
n No

El Yes. ln which community state or territory did you live?

 

Name of your spouse, fenner spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

. Fill in the name and current address of that person.

3. |n Column 1, list all of your codebtors. Do not include your spouse as a codebtor ii your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 1060), Schedule E/F (Official Form 106EIF), or Schedule G (Official Form 1066). Use Schedule D,

Schedule E/F, or Schedule G to fill out Co|umn 2.

Column 1: Your codebtor

 

 

3.1

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

3.2

 

 

 

Name

 

Number Street

 

j City State ZlP Code

 

 

3.3

 

 

 

Name

 

Number Street

 

City State ZlP Code

Official Form 106H Schedule H: Your Codebtors

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

El schedule D, line
El Schedule E/F, line
El schedule G, line

Schedule D, line _
Schedule E/F, line
Schedule G, line___

UUE|

Schedule D, line
Schedule EIF, line
Schedule G, line

UUU

page 1 of _l_

 

Case 19-13823 Doc 1

Fill in this information to identify your case:

'0lr\

First Name

‘Ff)ri)u)r\

Last Name'

Debtor 1
Middle Name

Debtor 2
(Spouse, if filing) Firet Name

 

Middie Name Last Name

District of

United States Bankruptcy Court forthe;

Case number
(lf known)

 

Filed 03/22/19

 

 

 

Official Form 106l
Schedule l: Your lncome

 

Page 35 of 56

Check if this is:
El An amended filing

n A supplement showing postpetition chapter 13
income as of the following date:

MM / DD/ YYYY

12I15

 

Be as complete and accurate as possible. |f two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. |f you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. |f more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Emp|oyment

1. Fill in your employment

information. Debtor 1

mmployed

n Not employed

lf you have more than one job,
attach a separate page with
information about additional
employers.

Emp|oyment status

include part-time, seasonal, or

self-employed work_ ` o

l\f\’ll¢t

Occu at'on
Occupation may include student p '
or homemaker, if it applies

Employer's name

Employer's address

(0§`[ \Onl)l Strle

Debtor 2 or non-filing spouse

[;l Employed
n Not employed

f

 

 

 

 

 

How long employed there?

Give Details About Monthly lncome

spouse unless you are separated

below. |f you need more space, attach a separate sheet to this form.

l`\lumber Street Number Street
City State ZlP Code City State Z|P Code

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. include your non-filing

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

For Debtor 1

For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). lf not paid monthly, calculate what the monthly wage would be. 2, $

3. Estimate and list monthly overtime pay. 3. + $

K§l(c $

_____ $

 

4. Calculate gross income. Add line 2 + line 3. 4.

 

 

 

 

 

 

 

 

 

Official Form 106l Schedule |: Your lncome

page 1

 

Case 19-13823 DOC 1 Fi|eCl 03/22/19 Page 36 Of 56

§Do\n tatum

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Case number (/rknown)
First Name Middie Name Last Name
For Debtor 1 For Debtor 2 or
Copy line 4 here ............................................................................................... ") 4. $
5. List all payroll deductions:
5a. Tax, Medicare, and Sociai Security deductions 5a $
5b. Mandatory contributions for retirement plans 5b. $
5c. Vo|untary contributions for retirement plans 50. $
5d. Required repayments of retirement fund loans 5d, $
5e. insurance 5e. $
5f. Domestic support obligations 5f. $
59. Union dues 59. $
5h. Other deductions. Specify: 5h. + $
6. Add the payroll deductions Add lines 53 + 5b + 5c + 5d + 5e +5f + 59 + 5h. 6. $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $
8. t_ist all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
monthly net income. l 8a.
8h. lnterest and dividends 8b. $ $
8c. Fami|y support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support child support maintenance divorce $ $
settlement and property settlement 8c.
Bd. Unemp|oyment compensation Bd. $ $
8e. Sociai Security Be. $ $
8f. Other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (beneflts under the Supp|ementa|
Nutrltion Assistance Program) or housing subsidies
specify: ar. $ $
89, Pension or retirement income 89. $ $
8h. Other monthly income. Specify: 8h. + $ + $
s Add all other income. Add lines 8a + 8b + 80 + 8d + 8e + 8f +8g + 8h. 9. $ $
10,Calculate monthly income. Add line 7 + line 9. + _ $ § 3 § l
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. - $_-- _
11. State all other regular contributions to the expenses that you list in Schedule J.

lnclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 11. + $

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical lnformat/'on, if it applies 12. $
Combined
monthly income

13. Do you expect an increase or decrease within the year after you file this form?
l;l No.
Cl Yes. Explain;

 

 

 

Official Form 106l

Schedule |: Your lncome

page 2

 

Case 19-13823 DOC 1 Fi|eCl 03/22/19 Page 37 Of 56

   
    

Fill in this information to identify your case:

' o\Ow\

  

 

 

Debtor 1 . . . _
First Name Midd\e Name Last Name Check |f this |S-
Debtor 2 .
(SpOuSe, iffiling) First Name Middie Name Last Name n An amended filing
_ _ cl A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: DiStriCt Of

expenses as of the following date:

Case number
(if known)

 

MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Household

1. is this a joint case?

 

WNo. Go to line 2.
n Yes. Does Debtor 2 live in a separate household?

Cl No
El Yes. Debtor 2 must me Ochiai Form 106J-2, Expenses for Separate Househo/d of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? m NO
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and /@Yes. Fill out this information for Debtor1 or Debtor 2 age with you?
Debtor 2. each dependent .......................... m
Do not state the dependents’ ® Y\ \ BDNO
names. Yes
daughter la n ~<»
EDYes
dowd tex l% o No
`\J BYes
cloud l/\\L@V l% n ~o
`~l mas
n No
n Yes
3. Do your expenses include W\m

expenses of people other than n
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your lncome (Official Form 106l.) Y°U" expenses

 

4. The rental or home ownership expenses for your residence. include hrst mortgage payments and

$ wl
any rent for the ground or lot. 4. _-

lf not included in line 4:

 

4a. Reai estate taxes

4a. $
4b. Property, homeowner’s, or rentefs insurance 4b. $ g § §
4c. Home maintenance, repair, and upkeep expenses 4c. $
4d. Homeowner’s association or condominium dues 4ci. $

Ofliciai Form 106J Schedule J: Your Expenses page 1

 

 

10.
11.

12.

16.

17.

18.

20.

Specify:

Case 19-13823 DOC 1 Fi|eCl 03/22/19 Page 38 Of 56

(l?o\r)\ n imqu

First Name Middie Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Uti|ities:

6a. E|ectricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Teiephone, cell phone, lnternet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies

. Childcare and children’s education costs

Clothing, laundry, and dry cleaning
Persona| care products and services
Medica| and dental expenses

Transportation. include gas, maintenance bus or train fare.
Do not include car payments.

Entertainment, ciubs, recreation, newspapers, magazines, and books
Charitab|e contributions and religious donations

|nsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15<:. Vehicie insurance

15d. Other insurance Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicie 1
17b. Car payments for Vehicie 2
17<:. Other. Specify:
17d. Other. Specify:

 

 

Case number (,fl<nawn)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Yourlncome (Official Form 106|).

Other payments you make to support others who do not live with you.

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your Income.

20a. Mortgages on other property

20b. Reai estate taxes

20c. Property, homeowner’s, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner’s association or condominium dues

Official Form 106J Schedule J: Your Expenses

6a.
6b.
6c.

6d.

10.

11.

12.
13.

14.

158.

15b.

150.

15d.

16.

173.

17b.

17C.

17d.

18.

19.

20a

20b.

200.

20d.

206.

Your expenses

 

$

él€)\§

$ 48 M

€BM

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it

61

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S

$

$99$€6

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99%€~?$€9

page 2

 

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Debtor 1 Q D\(\ ` Y\ Y)mw(\ Case number {/ri<nnwn)

First Name Middie Name Last Name

21. Other. Specify:

 

22. Calcuiate your monthly expenses
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c Add line 22a and 22b. The result is your monthly expenses

23. Calcuiate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule l.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For exampie, do you expect to Hnish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

mo

n Ye$» Explain here:

Official Form 106J Schedule J: Your Expenses

21.

22a

22b.

22cr

23c.

 

+$

 

 

 

page 3

 

 

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Dethi' 1

 

Middie Name Last Name

Debtor 2
(SPOUSS, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Courtfor the: District Of

Case number
(if known)

 

Ei check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an individual Debtor’s Schedules ms

 

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

EN<>

n Yes. Name of person . Attach Bankruptcy Petition Preparefs Notice, Dec/aration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

X

Signature of Debtor 2

 

 

Date_________
NiNi/ DD / YYYY

 

Official Form 106Dec Dec|aration About an individual Debtor’s Schedu|es

 

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Fill in this information to identify your case:

\O\r\

First Name Middie Name

 
    

  

Debtor 1

      
  
    
   
 
    

Last Name

Debtor 2
(Spouse, if nling) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District Of

Case number
(if known)

 

Cl Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for lndividuals Filing for Bankruptcy 04/16

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

El Married

Q¢Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

No
§§Yes. List ali of the places you lived in the last 3 years, Do not include where you live now.

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
» a Same as Debtor1 n Same as Debtor 1
"" 3 W t
\\ @~) " O\) /\\)\&D 1‘Fr0m “ From
Number Street Number Street

m `O\ To To
G\<ol\ thl\ ll)\/t> 301416

 

 

 

 

 

 

 

City State ZlP Code City State ZlP Code
n Same as Debtor 1 n Same as Debtor1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Caiifornia, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and V\hsconsin.)

tz%

l:l Yes. Make sure you fill out Schedule H.' Your Codebtors (Official Form 106H).

Explain the Sources of Your lncome
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

 

 

 

Case 19-13823 DOC 1 Fi|eCl 03/22/19 Page 42 Of 56

Debtor 1 %D\ m %W\ Case number (irknown)

First Name Middie Name Last Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ali jobs and all businesses including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

UNo

wage Fiii mine details

benton ' o `, " Debtor'z*
Sources of income Gross income Sources of income Gross income
Check all that appiy. (before deductions and Check all that apply. (before deductions and
exclusions) exclusions)
Fr°m January 1 of current year until a \;Vages czmmissions. $ n \;Voages, ct;mmissions, $
the date you filed for bankruptcy: °"“ses’ ps ___ nuses‘ 'ps
n Operating a business n Operating a business
F°r last calendar year: Wages, commissions /1 Wq m Wages, commissions
9 ( )\ ' bonuses tips $ bonuses tips $
(January 1 to December 31, _____X) n Operating a business n Operating a business

YYYY

For the calendar year before th n Wages, commissions a_, 616 m Wages, commissions

Tq/ bonuses tips $ ) bonuses tips $
(January 1 to December 31»WYY n Operating a business Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxabie. Examples of other income are alimony; child support Sociai Security,
unemployment and other public benth payments; pensions; rental income; interest; dividends; money collected from lawsuils; royalties; and
gambling and lottery winnings if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separateiy. Do not include income that you listed in line 4.

pNo

Cl Yes. Fiii in the detaiis.

Debior 1 ~ `, g ~ barrier 2
Sources of income Gross income from Sources of income Gross income from
Describe below. each 5°\"'°9 Describe below. each e°"r°e
(before deductions and (before deductions and
exclusions) exclusions)
From January 1 of current year until
the date you filed for bankruptcy:
$

For last calendar year:
(January 1 to December 31, )
YYYY

 

 

 

For the calendar year before that:

(January 1 to December 31, )
YrYY

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

 

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\
Debtor 1 Case number (ifknown)
First Name Middie Name Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
E.\ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

l;l No. Go to line 7.

m Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

Wes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Mo._Go to line 7.

[;\ ¥es. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and
alimony. A|so, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of Total amount paid Amount you still owe Was this payment for;..
payment
. $ $ n Mortgage
Creditors Name
n Car
Number Street n Credit Card

n Loan repayment

 

m Suppliers or vendors

 

 

 

City State ZlP Code n Other
$ $ n Mortgage
Creditors Name
m Car
Number Street n Credit card

 

m Loan repayment

 

a Suppliers or vendors

 

 

 

city stare zir= code n Other
$ $ cl Mortgage
Creditors Name
n Car
Number Street m Credit card

 

m Loan repayment

 

n Suppliers or vendors

Cl other

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 3

 

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`@ok)rn l?)mtor\

Case number (if/<nown)
First Name Middie Name Last Name

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
/nsiders include your relatives; any general partners relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. lnclude payments for domestic support obligations
such as child support and alimony.

§WNo

cl Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
_ $ $
insiders Name
Number Street
City State ZlP Code
$ $

 

insiders Name

 

Number Street

 

 

City State ZlP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

lnclude payments on debts guaranteed or cosigned by an insider.

HNo

El Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment

payment paid °we lnclude creditor’s name

 

 

 

 

 

. $ $
insiders Name
Number Street
City State ZlP Code
$ $

 

|nsider‘s Name

 

Number Street

 

 

City State ZlP Code

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Debtor 1 1 \m\ m %YM Case number (irkrmwn>

First Name Middie Name Last Name

m ldentify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any |awsuit, court action, or administrative proceeding?

List all such matters including personal injury cases small claims actions divorces collection suits paternity actions support or custody modifications
and contract disputes

>@No

El Yes. Fiii in the details

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Coud Name n Pending
n On appeal
Number Street n Concluded
Case number
City State ZlP Code
Case title C°un Name m Pending
a On appeal
Number Street n Concluded
Case number
City State ZlP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ali that apply and fill in the details below.

lH No. Goto rine11.
El Yes. Fiii in the information below.

Describe the property Date Value of the property

 

Creditor's Name

 

Number street Explain what happened

El Property was repossessed

El Property was foreclosedl

El Property was garnished.

city state ziP code |:\ Property was attached, seized, or ievied.

 

 

Describe the property Date Value of the property

 

Creditors Name

 

Number Street
Explain what happened

 

Property was repossessed.
Property was foreclosed.

 

Property was garnished.
Property was attached, seized, or levied.

City State ZlP Code

UU|JU

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Debtor 1 %\01 n %(Mn Case number (irkndwrrt

 

F`lrst Name Middie Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

WNo

El Yes Fill in the details

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name
Number Street $
City State ZlP Code Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors a court-appointed receiver, a custodian, or another official?

Cl No
n Yes

List Certain Gifts and Contributions

 

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

»E’No

[;l Yes. Fill in the details for each gift.

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZlP Code
Person‘s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person g the gifts
$
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZlP Code

Person‘s relationship to you

Offlcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

 

 

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s _ y
Debtor 1 %U n WUM Case number iilknawni

Flrst Name Middie Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

B?No

E\ Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

Charity’s Name

 

 

Number Street

 

City State ZlP Code

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

B’No

Cl Yes Fill in the details

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred . _ _ _ , loss lost

include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
t you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys bankruptcy petition preparers or credit counseling agencies for services required in your bankruptcy.

D'No

Ei Yes Fill in the details

 

 

 

` Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$

 

City State Z| P Code

 

Emaii or website address

 

Person Who Made the Pa ment if Not You

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

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Debtor 1 (RM\ n ,EJUXD(\ Case number iirkrrawn)
irst Name Middie Name

Last Name

 

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
" promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

S’No

El Yes i=iil in the details

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$

 

City State ZlP Code

 

 

18. Within 2 years before you filed for bankruptcy, did you se||, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement
g No
El Yes Fill in the details

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

Person‘s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

Person‘s relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

` 03
Debtor 1 RD\O\ W (ED(D n Case number (irknown)
irst Name

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Middie Name Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

B’No

n Yes. Fill in the details

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

 

List ¢ortaln Financial Accounts, lnstrumonts, Safo Doposlt Boxes, and Storago Unlts

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,

§

§

 

closed, sold, moved, or transferred?
include checking, savings money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses pension funds, cooperatives associations and other financial institutions

g No
Ei Yes Fill in the details

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial institution
XXXX- n Checking $
Number Street n Savi"gs

n Money market

 

n Brokerage

 

 

 

 

City State ZlP Code n other
XXXX- n Checking $
Name of Financial institution
n Savings
Number Street n Money market
n Brokerage
n Other

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities cash, or other valuables?

BNo

L'.] Yes Fill in tire details

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
n No
Name of Financial institution Name cl Yes
Number Street Number Street
city state zlP Code

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

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. t_ t
Debtor 1 (RBY)` n 93 mw Case number (ifl<ndwn)

First Name Middie Name Last Name

§22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
i'_`i Yes Fill in the details

 

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
m No
Name of Storage Facli|ty Name cl Yes
§ Number Street Number Street

 

CityState ZiF Code

 

City State ZlP Code

 

ldontlfy Property You Hold or ¢ontrol for Somoono llso

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

BNo

El Yes Fill in the details
Where is the property? Describe the property Value

 

Owner’s Name $

 

‘ Street

 

Number Street

 

 

 

City State Z|F Code

 

City State ZlP Code

m le¢ Detalls About Envlronmontal lnformatlon

For the purpose of Part 10, the following definitions apply:

a Environmental law means any federa|, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances wastes or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances wastes, or material.

§ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

is Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materiai, pollutant, contaminant, or similar tenn.

Report all notices, releases and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

BNo

Cl Yes Fill in the details

 

 

Governmental unit Environmentai law, if you know it Date of notice
Name of site Govemmental unit
Number Street Number Street

City State ZlP Code

 

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

 

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Debtor 1 M%\ m %mm Case number (in<newn)

Flrst Name Middie Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

§’"°
Yes. Fill in the detai|s.

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Govemmental unit
Number Street Number Street

City State ZlP Code

 

City State ZlP Code

26. Have you been a party in anyjudicial or administrative proceeding under any environmental law? include settlements and orders.

pNo

El Yes. Fill in the details.

 

 

 

 

 

Court or agency Nature of the case Status of the
case
Case title
Court Name n Pendmg
a On appeal
Number Street m Concluded
Case number city state zlP code

m leo Dotalls About Your Business or ¢onnoctlons to Any Business

 

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
cl A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
U A partner in a partnership
n An officer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

g No. None of the above applies. Go to Part 12.
n Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Emp|oyer identification number
Do not include Sociai Security number or i'ilN.

 

Business Name

 

 

 

j ElN:______-___________
Number Street

Name of accountant or bookkeeper Dates business existed

v From _ To

City State ZlP Code

§ Describe the nature of the business Emp|oyer identification number

 

§ _ Do not include Sociai Security number or lTlN.
~ Business Name

§ 'ElN:__-_________

Number Street
Name of accountant or bookkeeper Dates business existed

 

From To

 

city state zlP code

Offlcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

 

 

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Debtor 1 ROW\ m %mw\ Case number (ifknawn)

First Name Middie Name Last Name

Emp|oyer identification number
Do not include Sociai Security number or lTiN.

Describe the nature of the business

 

Business Name

 

 

ElNZ_________-______.______.__.__._.__
Number Street Name of accountant or bookkeeper Dates business existed
From ______ To

 

City State ZlP Code

 

1 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties,

D’No

El Yes. Fill in the details below.

Date issued

 

 

Name m

 

Number Street

 

 

City State ZlP Code

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

r; ‘/:T\ l ."‘ fit 17 /; §
x \W f [/é‘f (~,"'Sl”{a"§\{;/ 'lf § ‘ m

z ll `
Signatul% of Debtor»1 Signature of Debtor 2

 

 

Date
Did you attach additional pages to Your Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Official Form 107)?

m’ No
E] Yes

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
WNQ

n Yes. Name of person . Attach the Bankruptcy Petitiorl Preparefs Notice,
Dec/aration, and Signature (Official Form 119).

Offlcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

 

 

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United States Bankruptcy Court

District of Maryland
In Re: @Db\\(\ %M\(`] Case Number:
Debtor(s) Chapter: "; '

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best oftheir
knowledge

ll ` f
Date; 3/,‘: ¢: //7 Signature ofDebtor(s): ;S/(

s/

 

 

 

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Ba|timore Medica| System
P.O. Box 1593
l\/lerrifieid, VA 22116

North Shore Agency
270 Spagno|i Rd Ste 110
|\/|e|vii|e, NY 11747

Johns Hopkins |\/|edicine
P.O. Box 3475
To|edo, OH 43607

Secor S|eep Diagnostic Center
P.O. Box 665
Sy|vania, OH 43560

Bon Secours Ba|timore
2000 W Ba|timore Street
Ba|timore, MD 21223

Fair Co||ection and Outsourcing
12304 Ba|timore Ave Ste E
Be|tsvi||e, MD 20705

NCC
5503 Cherokee Ave
A|exandria, VA 22312

Mary|and Transportation Authority
P.O. Box 17600
Ba|timore, MD 21297

Agency insurance Company
P.O. Box 8900
E|kridge, MD 21075

Bridgecrest
P.O. Box 29018
Phoenix, AZ 85038

Associated Credit Services inc.
P.O. Box 5171
Westborough, MA 01581

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Progressive Leasing
256 West Data Drive
Draper, UT 84020

Exeter Finance
P.O. Box 166097
irving, TX 75016

i\/iontgomery County Emp Credit Union
19785 Crysta| Rock Dr. Ste 201
Germantown, i\/|D 20874

Uti|ites Emp Credit Union
11 I\/|eridian B|vd
Reading, PA 19610

World Finance Corp
108 Frederick Street
Greenvil|e, SC 29607

Commonwea|th Financial
245 i\/iain Street
Dickson City, PA 18519

EOS
P.O. Box 981008
Boston, MA 02298

Jefferson Capitai System
16 |\/icLe|and Rd
Saint C|oud, MN 56303

Emerg |\/|ed Association
245 I\/iain Street
Scranton, PA 18519

i\/|&M AutO
6000-8 Ritchie Highway
Ba|timore, i\/iD 21225

Verizon
500 Techno|ogy Dr.
We|don Spring, MO 63304

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Rogers inc Co||ections
2135 Espey Court #7
Crofton, i\/iD 21114

Fed Loan Service
P.O. BOX 60610
Harrisburg, PA 17106

U.S. Dept of Education
P.O. Box 5609
Greenvil|e, TX 75403

 

